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                   Thomas-Jensen
                    Affirmation



                       Exhibit # 95
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

                 Plaintiffs,

          v.
                                                       C.A. No. 1:25-cv-00039-JJM-PAS
  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                 Defendants.


                               DECLARATION OF PAM POISSON

        I, PAM POISSON, hereby depose and state as follows:

 Introduction

        1.      I am the Chief Financial Officer (CFO) at the New York State Energy Research

 and Development Authority (NYSERDA). I have held that Board-approved Officer position

 since October 5, 2021, having previously served as acting CFO since July of 2021. I make this

 declaration as a representative of NYSERDA, in part based on NYSERDA business records and

 in part based on my personal knowledge and experience as well as representations made by

 grant-specific NYSERDA program staff as to program expectations. In my official capacity and

 based on my personal knowledge and other sources of information I have obtained and reviewed

 in that official capacity, I am familiar with, and if called upon to do so, would be competent to

 testify to the facts and circumstances set forth herein.

        2.      NYSERDA has received six grants and one subgrant under the Bipartisan

 Infrastructure Law (BIL) (also known as the Infrastructure Investment and Jobs Act (IIJA)) and

 seven awards and one subgrant under the Inflation Reduction Act (IRA) that are impacted by the



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 pause on federal funding, with a combined value of over $747 million. These awards fund

 critical programs and activities across NYSERDA, supporting economic development, lowering

 energy costs for low-income New Yorkers, creating private sector jobs, and providing

 meaningful financial benefits to individuals and communities throughout the state. This

 declaration focuses on five of those federal grant awards, to illustrate the scope and impact of the

 pause on federal funding. Details of the full financial impact of the pause across all NYSERDA’s

 BIL and IRA awards is provided in the concluding paragraphs.

 Background

        3.      This declaration discusses some of the adverse impacts of the threatened and

 actual suspensions and impoundments of federal grant funding resulting from: (1) President

 Trump’s Executive Orders; (2) the memorandum “Temporary Pause of Agency Grant, Loan, and

 Other Financial Assistance Programs,” Matthew J. Vaeth, Acting Director of the Office of

 Management and Budget (January 28, 2025) (“OMB Memo”); and (3) other federal agency

 actions.

        4.      I learned that NYSERDA had been impacted by the OMB-directed freeze on the

 morning of January 29, 2025, when my staff in the Finance Department reported to me that they

 no longer had access to NYSERDA’s grants in the Automated Standard Application for Payments

 software system.

 Discussion of Federally-Funded Programs at Risk

        GREENHOUSE GAS REDUCTION FUND: SOLAR FOR ALL

        5.      On October 11, 2023, NYSERDA applied for a grant under the United States

 Environmental Protection Agency’s (EPA’s) Greenhouse Gas Reduction Fund (GGRF) Solar for

 All Program (Solar for All Program).



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        6.      On July 9, 2024, NYSERDA received confirmation from EPA that NYSERDA

 had been awarded a Solar for All Program grant in the amount of $249,800,000.

        7.      Pursuant to the terms and conditions of the grant award, funds are received in the

 form of reimbursement for actual costs incurred by NYSERDA in implementing and

 administering the Solar for All Program in New York.

        8.      The Solar for All Program grant is intended to enhance New York State’s existing

 portfolio of highly successful and effective solar deployment, technical assistance, and workforce

 development programs for the benefit of over 6.8 million residents that live in low-income and

 disadvantaged communities. Specific program elements include: (a) implementing an Energy

 Assistance Program (EAP) + Community Solar, which will provide community solar and

 associated guaranteed bill savings to all customers participating in a utility’s Energy

 Affordability Program, which is a utility bill discount program for low-income households.

 GGRF Solar for All funds will be used to fund additional projects with greater household savings

 than would otherwise be possible; (b) providing financial assistance program options and

 financial solutions to address market gaps in serving low-income disadvantaged communities,

 including through a residential rooftop solar incentive, a revolving loan fund, and a loan loss

 reserve fund to provide partial portfolio loss coverage to lenders financing residential rooftop

 solar and residential-serving community solar investments; (c) procuring technical assistance to

 support the Solar for All activities to be undertaken by subrecipient agencies; and (d) funding an

 on-the-job training program, providing wage subsidies to solar developers and design and

 installation companies to hire workers from low-income and disadvantaged communities and to

 support training and certification costs for these new hires.




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           9.    Subrecipient agencies, New York State Housing & Community Renewal (HCR)

 and New York City Department of Environmental Protection (DEP), will also use these IRA

 funds to implement programs that target specific barriers to solar deployment. HCR will receive

 a subgrant of $36,302,500 to provide solar subsidies for rooftop residential solar projects on

 multifamily affordable housing development projects, as well financial support for solar rooftop

 projects on low- and moderate-income single-family homes. DEP will receive a subgrant of

 $37,000,000 and will support Public Solar NYC, a New York City initiative that will implement

 programs to provide affordable leases of solar equipment, finance residential-serving community

 solar projects, and provide grants for solar-supporting property upgrades.

           10.   On January 28, 2025, NYSERDA received an email notification from EPA stating

 that EPA was pausing all funding actions related to the IRA and the IIJA. See Exhibit A attached

 hereto.

           11.   To date, of the total Solar for All Program grant of $249,800,000, NYSERDA has

 been reimbursed by EPA for administrative and planning costs totaling $281,365.85. Therefore,

 should the pause in funding for the Solar for All Program grant be made permanent, the total cost

 to NYSERDA and the subrecipient agencies is $249,518,634.15 ($400,000 of which was

 budgeted as in-kind assistance to be provided by the United States Department of Energy).

           12.   NYSERDA anticipates that the Solar for All Program grant would result in the

 deployment of community and residential solar projects with a capacity of over 242 MW. Those

 projects are expected to provide $223 million in savings over their lifetime, in the form of

 reduced utility bills for low-income households. The investment and economic development

 related to these solar projects is also expected create 3,320 full time jobs.




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        13.     The Solar for All Program grant is additional to existing state funding sources

 deployed by NYSERDA’s NY-Sun program for solar energy projects. Should the Solar for All

 Program grant be cancelled, the funding is unlikely to be replaced by state funding sources on

 the timetable contemplated by the federal grant. As such, should the grant be cancelled, the

 projected household savings and job creation would be lost.

        HOME ENERGY REBATES (HER) PROGRAM

        14.     On June 14, 2024, and August 14, 2024, NYSERDA applied for the U.S.

 Department of Energy’s Home Energy Rebates (HER) program.

        15.     On August 21, 2024, NYSERDA received confirmation from the Department of

 Energy that NYSERDA had been awarded the HER grant in the amount of $159,021,883.

        16.     Pursuant to the terms and conditions of the grant award, funds are received in the

 form of reimbursement for actual costs incurred by NYSERDA in implementing and

 administering the HER program in New York.

        17.     NYSERDA plans to focus HER funding on 2+ unit multifamily residential

 buildings, providing funding to encourage deeper energy savings projects such as air sealing,

 insulation, heating and cooling system upgrades, and water heater upgrades as needed. Projects

 will be eligible to receive incentives per dwelling unit based on modeled energy savings ranging

 from $2,000 - $84,000 per unit depending on the energy savings and the income eligibility of the

 building, with a cap of up to $200,000 - $400,000 per building depending on energy savings and

 income eligibility. A portion of the HER funding will be used for NYSERDA’s Comfort Home

 program, a market-rate program that offers homeowners between $1,600 to $4,000 for

 installation of seal and insulate packages, depending on the type of improvements being made.

 NYSERDA planned on providing services to 32,000 dwelling units through HER.



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        18.     Prior to the pause in federal funding, NYSERDA had not yet launched its

 programming under the HER award and has not yet sought any reimbursement. The harm to

 NYSERDA from the impoundment of this award is the full award amount of $159,021,883.

        19.      The impact of delayed or cancelled funding equates to higher energy bills

 experienced by tens of thousands of New Yorkers who would have been served with this funding

 over the life of the award.

        HOME ELECTRIFICATION AND APPLIANCE REBATES (HEAR) PROGRAM

        20.     On December 28, 2023, NYSERDA applied for the U.S. Department of Energy’s

 Home Electrification and Appliance Rebates (HEAR) Program fast-track option.

        21.     On April 16, 2024, NYSERDA received confirmation from the U.S. Department

 of Energy that NYSERDA had been awarded the fast-track grant the day before.

        22.     On June 14, 2024, NYSERDA submitted a full application to the HEAR program.

        23.     On August 26, 2024, NYSERDA was notified that NYSERDA’s full HEAR

 application was granted, and that a modification to the agreement had been signed. NYSERDA’s

 total award was $158,415,850.

        24.     Pursuant to the terms and conditions of the grant award, funds are received in the

 form of reimbursement for actual costs incurred by NYSERDA in implementing and

 administering the HEAR program in New York.

        25.     On May 30, 2024, New York became the first state to offer HEAR funding for

 home energy efficiency and electrification upgrades through the Inflation Reduction Act.

        26.     NYSERDA has used HEAR funding in two separate programs that are currently

 offering incentives to New Yorkers: EmPower+ and the Appliance Upgrade Program (AUP).




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        EmPower+ Program

        27.     Through NYSERDA’s EmPower+ program, eligible owners of one to four family

 homes are able to receive significant discounts, up to 100 percent of total project cost, for

 insulation and air sealing, heat pumps for space and water heating, and any necessary electrical

 upgrades to support those improvements. EmPower+ incentives are based on household income

 eligibility and the types of energy efficiency improvements included in a project.

        28.     In EmPower+, low-income, single-family households are eligible for no-cost

 energy efficiency improvements capped at $10,000 per project while moderate-income single-

 family households are eligible for no-cost energy efficiency improvements capped at $5,000 per

 project.

        29.     This funding can cover a range of upgrades, with prioritization for core energy

 efficiency improvements, including insulation, air sealing, electrical service upgrades, electrical

 wiring upgrades, heat pump water heaters and heat pumps. For homes that have air sealing and

 insulation completed, contractors can make recommendations to upgrade heating and cooling

 equipment through EmPower+.

        30.     NYSERDA’s award was designed to use rebate funds for consumer rebates for,

 allowable products at up to $14,000 per customer, as well as installation contractor incentives,

 and affiliated consumer protection and income verification, among other things.

        Appliance Upgrade Program (AUP)

        31.     NYSERDA was the first in the nation to roll out a point-of-sale appliance

 program with HEAR funding with its launch of AUP on November 21, 2024.

        32.     Through AUP, New York offers retail point-of-sale appliance rebates to provide a

 customer-centered process for replacing inefficient electric or fossil fuel-powered clothes dryers



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 with ENERGY STAR certified clean heat pump powered alternatives, and contractor rebates for

 making associated electrical upgrades if needed.

         33.     ENERGY STAR- certified heat pump dryers use less energy compared to

 conventional dryers, which can save consumers significant electricity costs over the life of the

 product. 1

         34.     Around 80% of U.S. households have a clothes dryer, with the average household

 using their dryer for nearly 300 loads of laundry per year. 2 Those who switch to an ENERGY

 STAR® certified heat pump clothes dryer from a standard electric dryer can expect to save an

 average of $330 annually. 3

         35.     Households may receive a maximum of $840 in incentives for the appliance

 purchase and installation, and an additional maximum incentive of $2,500 and $4,000,

 respectively, for necessary electrical wiring and panel upgrades. Households under 80 percent

 AMI are eligible to receive up to $14,000 in total combined incentives under the Appliance

 Upgrade Program and EmPower+. Prior to the funding freeze, New York was scheduled to

 expand the rebate program in 2025 to include additional clean energy appliances and eligibility

 for owners of residential low- and moderate-income multifamily buildings to apply for rebates.

         36.     In order to achieve this milestone and bring these cost-saving appliances to low-

 income New Yorkers, NYSERDA provided extensive cost share with state funding, including to

 build a portal for submission of rebate applications for use until the DOE portal becomes

 available. NYSERDA incurred $396,363 in costs for this portal, along with months of staff and




 1
   https://www.energystar.gov/products/clothes_dryers/heat-pump-dryer
 2
   https://www.energystar.gov/products/ask-the-experts/save-more-laundry-heat-pump-clothes-dryer
 3
   Clothes dryers. MyEnergy.NY.gov. (2024, December 26). https://myenergy.ny.gov/how-to-upgrade/appliances-
 electronics/clothes-dryers/

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  counsel time obtaining participation from local and national retailers, each of which had its own

  systems for which to account in establishing electronic access for information sharing.

         37.     The HEAR AUP program has served approximately 414 households and has

  issued $343,000 in appliance rebates within the first three months with over 1,000 applications in

  progress.

         38.     NYSERDA has launched its HEAR programming and it is successfully in the

  implementation stage. To date, NYSERDA has sought and received reimbursement for

  approximately 5% of its HEAR funding. The harm to NYSERDA from the impoundment of this

  award is the remaining roughly 95%, a total of $149,871,787.18.

         39.     NYSERDA anticipated serving 43,000 New York households with HEAR funds

  under AUP and EmPower+ but will only be able to achieve a small fraction of this number if the

  HEAR grant is canceled.

         40.     NYSERDA expects that, from the 1,400 projects completed to date and paid for

  with HEAR funding, New Yorkers will save approximately $3 million in total energy costs

  across the lifetime of the installed measures. Based on an estimated $125 average annual energy

  savings per household, NYSERDA projects that New Yorkers will pay an additional $65 million

  in energy costs without the HEAP award’s services.

         GRIP: PREVENTING OUTAGES AND ENHANCING THE RESILIENCE OF
         THE ELECTRIC GRID PROGRAM


         41.     On May 31, 2023, NYSERDA applied to the U.S. Department of Energy’s GRIP:

  Preventing Outages and Enhancing the Resilience of the Electric Grid Program for years one and

  two, and on April 15, 2024, applied for year three.




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         42.     On August 28, 2023, NYSERDA received confirmation from the U.S. Department

  of Energy that NYSERDA had been awarded the grant for years one and two, and on August 20,

  2024, received notice that the NYSERDA award had been modified to include year three. The

  total amount for all three years is $35,407,764.

         43.     Pursuant to the terms and conditions of the grant award, funds are received in the

  form of reimbursement for actual costs incurred by NYSERDA in implementing and

  administering the GRIP program in New York.

         44.     NYSERDA is using this federal funding to improve the resilience of the State’s

  electric grid against extreme weather and natural disasters. Specifically, this award provides

  funding to municipal utility, rural electric cooperative and small grid operators within New York

  that sell less than 4,000,000 MWh electricity annually to support the implementation of projects

  like advanced modeling technologies; hardening of power lines, facilities, substations, or other

  systems; monitoring and control technologies; relocation of power lines or reconductoring of

  power lines; replacement of old overhead conductors & underground cables; use or construction

  of projects that enhance system adaptive capacity during disruptive events, including microgrids

  and battery-storage subcomponents; and weatherization technologies and equipment.

         45.     Prior to the pause in federal funding, NYSERDA had not yet launched its

  programming under the GRIP award and has not yet sought any reimbursement. The harm to

  NYSERDA from the impoundment of this award is the full award amount of $35,407,764. A

  delay or cancellation of this award would result in NYSERDA delaying this electric grid

  resilience work, potentially increasing the risk of damage to the grid in a severe weather event

  and causing additional harm to small municipal electric utilities whose systems are in need of




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  safety upgrades. This is one of a very few sources of funding for such municipal utility projects

  and alternate funding sources may not be easily secured.



             STATE ENERGY PLAN: BIPARTISAN INFRASTRUCTURE LAW

             46.   On December 05, 2022, NYSERDA applied for the State Energy Plan: Bipartisan

  Infrastructure Law (SEP-BIL) Program. State Energy Plan formula grants are designated for a

  state's designated energy office; NYSERDA is New York’s designated energy office.

             47.   On August 11, 2023, NYSERDA received confirmation from the U.S. Department

  of Energy that NYSERDA had been awarded the SEP-BIL grant in the amount of $17,323,790.

             48.   Pursuant to the terms and conditions of the grant award, funds are received in the

  form of reimbursement for actual costs incurred by NYSERDA in implementing and

  administering the SEP-BIL program in New York.

             49.   Funding for the SEP-BIL program in New York is used for necessary updates to

  New York State’s Energy Security Plan in coordination with the New York State Division of

  Homeland Security and Emergency Services and the U.S. Department of Homeland Security

  Cybersecurity & Infrastructure Security Agency to address, among other things, cybersecurity

  threats.

             50.   Additionally, SEP-BIL funding supports three additional projects, to grow

  domestic supply chain and manufacturing, support domestic innovation and to support power

  grid planning and resilience.

             51.   NYSERDA has requested, and been provided with, reimbursement of

  $375,902.36 to date under this award, approximately 2% of the total award. The impact of this

  impoundment on NYSERDA is the remaining 98%, a total of $16,947,887.64.



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         52.     Should this grant be cancelled, NYSERDA would likely encounter delays and

  would have to secure additional funding to provide needed updates to New York State’s Energy

  Security Plan, and would not be able to take the steps outlined above to further timely support

  grid resiliency, collectively address regional needs for system-wide planning for grid expansion

  and modernization, and further develop a domestic and New York based supply and

  manufacturing chain.

         OTHER IMPOUNDED FEDERAL GRANTS

         53.     In addition to the above-detailed grants, NYSERDA also obtained federal funding

  from a number of additional awards from the U.S. Departments of Energy, Labor, and

  Transportation. Those awards support projects across NYSERDA’s programmatic portfolio,

  including workforce training, electric vehicle charging infrastructure, technical assistance for

  rural businesses and agriculture, building retrofits for improved energy efficiency, and the

  development and modernization of state building energy codes. NYSERDA was awarded over

  $127 million for these programs.

         54.     In total, the impact of the impoundment on NYSERDA exceeds $737.5 million.

         55.     As of the date of my signature on this document, all of NYSERDA’s federal

  accounts that are eligible for active reimbursement remain frozen. See, e.g., Exhibit B, attached

  hereto, a communication sent to NYSERDA staff from the United States Department of

  Agriculture received February 5, 2025, stating that “we have been frozen from making any

  disbursements on IRA funded projects which includes” the NYSERDA award and that “The

  freeze is due to E.O. UNLEASHING AMERICAN ENERGY.”




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  SIGNED UNDER THE PENALTIES OF PERJURY THIS 5th DAY OF FEBRUARY, 2025.



                                    PAM
                                     AM POISSON
                                    CHIEF FINANCIAL OFFICER




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                    EXHIBIT A
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                                                #: 5011



                                             y,//d



  From: EPA_Grants_Info <EPA_Grants_Info@epa.gov>
  Sent: Tuesday, January 28, 2025 4:42 PM
  Subject: Pause EPA Grants

    ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown
                                         senders or unexpected emails.


  Dear Grant Recipient,

  EPA is working diligently to implement President Trump’s Unleashing American Energy Executive
  Order issued on January 20 in coordination with the Office of Management and Budget. The agency
  has paused all funding actions related to the Inflation Reduction Act and the Infrastructure
  Investment and Jobs Act at this time. EPA is continuing to work with OMB as they review processes,
  policies, and programs, as required by the Executive Order.

  Thank you.

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                    EXHIBIT B
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                                     ([KLELW%#: 5013
   From:             Pereira, Gary - RD, NY
   To:               Yatto, Erik (NYSERDA)
   Cc:               Baldyga, Todd A (NYSERDA); Zweig, Jessica L (NYSERDA)
   Subject:          RE: [External Email]NYSERDA drawdown request #2
   Date:             Wednesday, February 5, 2025 3:57:53 PM
   Attachments:      image001.png
                     image002.png
                     image003.png


     ATTENTION: This email came from an external source. Do not open attachments or click on links from unknown
                                          senders or unexpected emails.


   Erik,

   Unfortunately, we have been frozen from making any disbursements on IRA funded
   projects which includes REAP TAG.



   The freeze is due to E.O. UNLEASHING AMERICAN ENERGY
   https://www.whitehouse.gov/presidential-actions/2025/01/unleashing-american-energy/
           See section 7.

           Sec. 7. Terminating the Green New Deal. (a) All agencies shall immediately pause
           the disbursement of funds appropriated through the Inflation Reduction Act of
           2022 (Public Law 117-169) or the Infrastructure Investment and Jobs Act (Public
           Law 117-58), including but not limited to funds for electric vehicle charging
           stations made available through the National Electric Vehicle Infrastructure
           Formula Program and the Charging and Fueling Infrastructure Discretionary Grant
           Program, and shall review their processes, policies, and programs for issuing
           grants, loans, contracts, or any other financial disbursements of such
           appropriated funds for consistency with the law and the policy outlined in section
           2 of this order. Within 90 days of the date of this order, all agency heads shall
           submit a report to the Director of the NEC and Director of OMB that details the
           findings of this review, including recommendations to enhance their alignment
           with the policy set forth in section 2. No funds identified in this subsection (a)
           shall be disbursed by a given agency until the Director of OMB and Assistant to the
           President for Economic Policy have determined that such disbursements are
           consistent with any review recommendations they have chosen to adopt.



   USDA currently has no additional guidance on this E.O.

   -Gary Pereira
   From: Yatto, Erik (NYSERDA) <Erik.Yatto@nyserda.ny.gov>
   Sent: Wednesday, February 5, 2025 11:27 AM
   To: Pereira, Gary - RD, NY <gary.pereira@usda.gov>
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                                            #: 5014

   Cc: Baldyga, Todd A (NYSERDA) <Todd.Baldyga@nyserda.ny.gov>; Zweig, Jessica L (NYSERDA)
   <Jessica.Zweig@nyserda.ny.gov>
   Subject: [External Email]NYSERDA drawdown request #2


   [External Email]
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   Hi Gary,
   Attached is NYSERDA’s second draw down request. Please let us know if you have any
   questions, or if there is anything missing. Thank you.

   Erik




   Erik Yatto
   Energy Accountant

   NYSERDA
   17 Columbia Circle | Albany, NY 12203-6399
   P: 518-862-1090 x3557 | F: 518-862-1091 | E: erik.yatto@nyserda.ny.gov

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